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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________________________

DAVID VANN,

                      Plaintiffs,                                REPLY DECLARATION
                                                                 IN SUPPORT OF
                                                                 MOTION TO DISMISS
      v.                                                         Civ. No.: 18-cv-06464

CITY OF ROCHESTER, POLICE OFFICER
MATTHER DRAKE, POLICE OFFICER
STEVEN MITCHELL, POLICE OFFICER
JEFFEREY KESTER, POLICE OFFICER
CHRISTOPHER BARBER, POLICE OFFICER
DAVID E. KEPHART, INVESTIGATOR TOMESHA
ANGELO, TECHNICIAN STEPHANIE MINTZ,
SERGEANT DANIEL J. ZIMMERMAN,
“JOHN DOES 1-6” and POLICE OFFICERS
“JOHN DOES 7-12”, et al.

                      Defendants.
_______________________________________________

JOHN M. CAMPOLIETO, Esq., declares and says:

      1.       I am an attorney with the City of Rochester Corporation Counsel’s Office,

attorneys for Defendants. I am admitted to practice law before the courts of the State of

New York and in the United States District Court, Western District of New York.

      2.       I submit this Reply Declaration in support of Defendants’ F.R.C.P. Rule

12(b)(6). 12(e) and 12(f) Motion for Partial Dismissal for Failure to State a Claim. The

information set forth herein is based upon my personal knowledge, a review of the

proceedings in this action, and a review of relevant case law.

      3.       Annexed hereto as Exhibit A is a copy of the Letter sent by the Plaintiff’s

Attorney in this matter, filed with the Court’s ECF system on December 5, 2018.

      4.       This motion seeks alternative relief. The City seeks dismissal of the entire
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Complaint and Demand for a More Definite Statement under Rule 12(e). Partial

Dismissal of certain causes of action under Rule 12(b)(6). Striking of the entire

Complaint or sections of the Complaint alleging Fraud under Rule 12(f) and Rule 9(b)

and striking extraneous media cited to and incorporated by reference into the Complaint

under Rule 12(f).




Dated: December 5, 2018                  TIMOTHY R. CURTIN,
                                         CORPORATION COUNSEL

                                         /s/ John M. Campolieto
                                         _________________________________
                                         BY: John M. Campolieto, Esq., of Counsel
                                         Attorneys for Defendants
                                         City Hall Room 400A, 30 Church Street
                                         Rochester, New York 14614
                                         (585) 428-7410

To:   Eliot Dolby Shields
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